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WNWD P'l`S-WAR~A]]

 

 

 

 

(06,115)
UNITED STATES DISTRICT COURT
for
Western District of Washington

Petition for Warrant for Det`endant Under Pretrial Services Supervision
Name ofDefendam Da.'e
Rezakhani, Maziar August 17, 2016
Name ofJud:`ciaf Oj?cer Case Number
The Honorable Mary Alice Theiler, 2:]5-CR-00395-JLR-l
United States Magistrate Judge
Origina! OJ{‘}”ense Dc:re Superw`sion Commenced
Count 1 and 3: Mail Fraud October 6, 2015

Count 2: Bank Fraud

 

 

Count 4: Filing a False lncome Tax Return

PETITIONING THE COURT
To issue a warrant under seal

The Probation Of‘f`lcer believes that the defendant has violated the following conditions of supervision:

Nature of Noncompliance
1. Mr. Rezakhani has violated a standard condition of his bond which states he shall not commit a federal,
state, or local crime during the period of release by committing the crime of Assault 4th Degree, on or
about August l?, 2016.

2. Mr. Rezakhani has violated a special condition of his bond which states he shall not use, consume, or
possess alcohol unless prescribed by a physician, by consuming alcohol, on or about August 1?, 2016.

Nature of Violation Conduct: On August 17, 2016, the undersigned received a call from Bellevue Police
Department Of’l`lcer Cooper. He disclosed Mr. Rezakhani and his ex-girli`riend, Anna O’Leal'y, met at a bar and had
a few alcoholic beverages Ofi`icer Cooper advised Mr. Rezakhani and Ms. O’Leary subsequently went to Mr.
Rezakhani’s residence and got into an argument He indicated Mr. Rezakhani pushed Ms. O’Leary to the floor
twice. Of`ficer Cooper stated he arrested and booked Mr. Rezkhani into jail for Assault 4"‘ Degree.

U.S. Probation Oi`t'lcer Recommendation:
Revoke the bond

Detention pending final adjudication due to:
Risk of nonappearance
Danger to community

HHH

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The Honorable Mary Alice Theiler, United States Magistrate Judge Page 2 of 2
Petition for Warrant for Defendant Under Pretrial Services Supervision 8/’ l '?f20] 6

l declare under penalty of perjury that the foregoing is true and correct.
Executed on this I?"‘ day of August, 2016.

/24~@,

 

APPROVED:

Connie Srnith Christina Lacy

Chief U.S. Probation and U-S- Pl'Oba'infl Off'lCCI‘
Pretrial Services Ot`i'lcer

BY:

Monique D. Neal
Supervising U.S. Probation Oft`lcer

 

 

THE COURT FINDS PROBABLE CAUSE AND DIRECTS:

The Issuance of a Warrant under seal
(conditions of supervision shall remain in effect pending final adjudication)

/GJ»\X§A’W~>

Karen L.` Strombom,
United States Magistrate Judge

 

8f1'?f2016
Date

 

